
42 So. 3d 341 (2010)
Patrick D. WITKEMPER, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D09-4226.
District Court of Appeal of Florida, Fifth District.
August 20, 2010.
Patrick D. Witkemper, Sneads, pro se.
Bill McCollum, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
Petitioner seeks a belated appeal. We appointed the trial court as commissioner to conduct an evidentiary hearing to determine the facts. Upon review of the report, the petition for habeas corpus for belated appeal is denied.
PETITION DENIED.
GRIFFIN, PALMER and ORFINGER, JJ., concur.
